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       To:      Ellington, Edward (DOC)[Edward.Etlington@doc.alabarna.govj
       Cc:      McCoy, Monica (DOC)[Monica.McCoy©doc.alabama.gov]
       From:    Fassi, Mark (DOC)
       Sent:    Wed 11/21/20189:20:24 AM
       Subject  FW: ASCA Inspection of St. Clair
       ASCA St Clair Assessment Report ORAFT.docx

        Hello Ed )


        Attached is St. Clair report. We will work together to help out Warden Jones. v/r Mark


        From: Fassi, Mark (DOC)
       Sent: Tuesday, November 20, 2018 11:49 AM
       To: Williams, Jeffery (DOC) <kff.Williams@doc.alabama.gov>
       Subject: FW: ASCA Inspection of St. Clair



        FYI St Clair—ASCA Report
        From: Fassl, Mark (DOC)
       Sent: Monday, November 19, 2018 9:27 AM
       To: Seals, William (DOC) cWilliarn.5elscThdoc.alahania.gov>
       Subject: ASCA Inspection of St. Clair


        Hello Will,


        This is the report. Thanks for the help. v/r Mark


        Mark F. Fassi
        Alabama Department of Corrections
        Inspector General "First 1k' Right-Then Move Forward"
        Enmil-mark fassKI dcc .alabamajzov
        C-334-353-3305
        0-334-353-2575


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                                   Alabama Department of Corrections
                                         St. Clair Correctional Facility
                                      Operational Assessment Report



                                                                       Submitted to the:


                                   Alabama Department of Corrections



                                                                                 By the:

                      Association of State Correctional Administrators




                                                            January 22, 2018




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       Assessment Overview


       Jefferson Dunn, Commissioner of the Alabama Department of Corrections (ALDOC), requested the Association of
       Correctional Administrators (ASCA) to conduct afacility operational assessment of the St. Clair Correctional


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       Facility (SCCF) located in Springville, Alabama. This assessment was part of ALDOC's response to the escape of
       two security level 5inmates on December 4, 2017.


       The SCCF is a1,275-bed level 5close custody male facflity that opened in 1983 with adesign capacity of 984. The
       facility is acampus style institution comprised of fifteen inmate housing units, avocational industry building, a
       kitchen with adining hall, amedical unit with an inpatient infirmary, and anumber of administrative buildings
       all within one continuous perimeter.


       The fifteen inmate housing units consist of two dormitories and thirteen cellblocks. Cellblocks consist of an A
       side and aBside that are physically separated from each other and have asecure officer's station (cubicle
       control) overlooking each side. Housing units include: One 200-bed dormitory that serves as atherapeutic
       community program; One 58-bed chronic care dormitory located in close proximity to the infirmary; Four48-bed
       and one 24-bed cellblocks used for regional restrictive housing; Two 96-bed cellblocks that provide faith based
       programming; One 96-bed cellblock that houses elderly inmates; Three 96-bed general population units; One 96-
       bed unit that provides workers for the Holman construction project, which currently has one side shuttered; and,
       One 96-bed cellblock currently shuttered due to the transfer of alarge number of problematic inmates to other
       facilities.


       The average daily count during the ASCA team site visit was approximately 990 inmates. Of that number,
       approximately half are serving asentence of life without parole.


       Methodology


       The ASCA assessment team consisted of: Wayne Choinski, Team Lead; Michael Maloney; Wayne Scott; and,
       Pamela Sonnen. Biographical profiles of team members can be found in Appendix A to this report


       Based on discussions with Commissioner Dunn and Inspector General Mark Fassi, ascope of work was
       developed, reviewed by the ALDOC, and mutually agreed upon. The scope of work included the assessment of
       the following operational areas:


           •     Facility Climate and Culture: Facility culture and climate, sanitation, condition of infrastructure, staff and
                 inmate perception of safety and security, and communication between managers, supervisors, staff and
                 inmates;
           •     Leadership and Command Structure: Mission, vision, values, communication, organizational structure,
                 and decision making;
           •     Staffing, Supervision, and Span of Control: Uniformed staffing levels, location of posts, staff shortages,
                 supervisory staff, and supervisory span of control;
           •     Operational Policy and Procedure: Consistency of facility policies, procedures, and practices with agency
                 policies, adherence to facility policies and procedures, staff knowledge of policies and procedures, staff
                 training and enforcement of policies and procedures;
           •     Post Orders (SOPS) and Logs: Availability of SOPs for posts, consistency with staff duties, staff awareness
                 of SOPs, log book documentation, consistency and comprehensiveness;
           • Tours and Inspections: Frequency and documentation of housing unit tours by officers, supervisors,
             management, and support staff, frequency and documentation of unit, post, and equipment inspections,
                 and, enforcement of housing unit rules and regulations
          •      Facility Access Control: Facility entrance policies and procedures for staff, visitors and vendors,
                 accountability of vendor tools, searches of staff and visitors, facility escort procedures;
          •      Facility Searches: Searches of inmates, institutional searches, and contraband control;



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           •     Perimeter Security: Adequacy of perimeter security, condition of perimeter security systems, inspection
                 and maintenance of perimeter security systems, documentation of inspections, testing of intrusion
                 systems, and response toalarms;
           •     Inmate Movement and Control: Facility movement policies and plans, video surveillance, accounting of
                 inmates outside of housing units, and formal and informal count policies and procedures;
           •     Key and Tool Control: Adequacy of facility policy and procedures, issuance and return of keys and tools,
                 accountability, inventories, audits)and access to keys and tools;
           •     Maintenance and Repairs: Process for reporting maintenance issues, timeframes for completing repairs,
                 quality of repairs;
           •     Inmate Classification: External and internal, program assignment, and housing assignment;


       In preparation for the site visit, the ASCA team requested and received anumber of documents related to the
       agreed upon scope of work. Team members reviewed these documents in advance of the site visit. While on
       site, the ASCA team requested and reviewed alarge number of additional documents. A list of documents
       reviewed can be found in Appendix Bto this report.


       The ASCA assessment team was on-site over a4-day period from January 9— 12, 2018. On the morning of
       January 9, 2018, the assessment team met with Inspector General Mark Fassl to discuss the site visit schedule,
       on site activities, and to be briefed on the escapes. At the conclusion of that briefing, the team traveled to the
       SCOF and conducted an initial in-briefing with Institutional Coordinator Edward Ellington and Warden IAnthony
       Brooks. It should be noted that Warden Ill DeWayne Estes and Warden II Cedric Specks were not present at the
       facility on January 9. The remainder of the first on site day consisted of afacility tour, individual staff interviews
       and observation of facility operations As part of the initial facility tour, the assessment team observed P
       Celiblock, the two cells where the escapees were housed and walked the suspected escape route both inside and
       outside the facility perimeter.


       On January 10, 2018, the assessment team arrived at the facility at 3:30 am to observe facility operations at the
       approximate time when the escapes occurred. The team conducted atour of the perimeter, inmate dining hall,
       kitchen, Pand Q cellblocks, spoke with staff and inmates in these areas, and observed acount being conducted
       from various vantage points. Warden II Cedric Specks was on site later that morning and was Interviewed
       individually byassessmentteam members. Additionally, Al Investigation and Intelligence Division
       Investigator Brian Casey provided the assessmenttearn with an overview of the escape. The remainder of that
       day consisted of staff interviews, observation of all uniformed posts, tours of all inmate housing units and
       observation of facility operations. At the conclusion of the day, the assessment team met with Associate
       Commissioner Grantt Culliver,


       On January 11, 2018, Warden Ill DeWayne Estes was present atthe facility and was interviewed by the
       assessment team. Additionally, individual team members interviewed Warden Estes at other times during the
       day as well. The remainder of that day consisted of staff interviews and observation of facility operations
       On January 12, 2018, the ASCA assessment team drove to ALDOC Headquarters and conducted an out-briefing
       with Commissioner Jefferson Dunn and Chief of Staff Steve Brown.


       A list of all SCCF staff interviewed can be found as Appendix Cto this report.



       Observations, Findings and Recommendations


       Facility Climate and Culture


       Observations and Findings
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       During the assessment team's three full days on site, we had the opportunity to observe facility operations on
       both the day and evening shifts. With very few exceptions, all of the staff we came in contact with, interviewed,
       and spoke to during our observations were personable, accommodating and candid. With that said, security staff
       overwhelmingly described morale as being low. The general consensus was that they felt under-appreciated and
       overworked. Low pay, mandated overtime, changes to the retirement system, the lack of meaningful pay raises,
       and fear for their personal safety were cited reasons for the low morale. Due to significant correction officer
       shortages, mandated overtime is rampant, wIth 16-hour shifts the norm.


       Staff shortages combined with low morale has created afacility culture of unmotivated staff doing only the
       minimum to make it through their shift. Officers do not enforce basic facility policies such as challenging inmates
       moving without authorization on the yard, enforcing the requirement for inmates to wear their issued
       identification wristband, and prohibiting smoking within housing units. This has resulted in the inmate
       population being very undisciplined and empowered by the lack of any real structure.


       Sanitation in the facility Is very poor. Copious amounts of trash were noted in most areas of the facility. The
       trash in some areas of the institution has accumulated over aperiod of time indicating sanitation is avery low
       priority. An active mouse infestation was observed around the outside of the food service building. It appears
       that staff has accepted the unsanitary conditions. Poor sanitation is one sign of poor control over afacility.

       Excess clutter and nuisance contraband is visible in Inmate cells. This has potentially contributed to the
       significant level of contraband that exists within the facility. Cell phones, drugs, and weapons are prevalent
       among the inmate population. While touring the facility, several assessment team members observed an inmate
       using abroken piece of aglass mirror; accompanying the tour was awarden, acentral office representative and
       several supervisors. No action was taken to confiscate the contraband from the inmate.


       Inmate vandalism was observed throughout the facility. Newly installed windows in some cellblocks have
       already been broken. Metal strips that secure cell door windows to the frame have been removed. Many of the
       camera shields located in cellblock day rooms have been scratched, reportedly by sandpaper, rendering them
       useless. Inmate vandalism is exacerbated by the fact that inmates are rarely locked in their cells, which also
       leaves no designated time for cleaning.


       All of these issues are certainly indicative of alack of leadership. Correctional staff receive little supervision or
       support. Everyone from top management, Including regional staff, to line staff appears to have accepted
       mediocrity as the new normal. Staff realizes that they are not running asafe and secure facility however they
       believe that due to the shortage of resources, the bureaucracy and the large number of security staff vacancies
       they are doing the best lob possible. This has resulted in asituation where vital security functions such as cell
       searches and security inspections are not beingperfornied. The failure tQperform vital security functions has
       had anegative impact on facility safety and security and certainly contributed to the December 4, 2017 escapes.


       There is no system in place to provide direction to line staff regarding what "shortcuts" are approved due to the
       shortage of staff. Leadership staff is not visible to line staff, so line staff are doing what they have to do to get
       through the day, with no clear direction.


       An example of the lack of direction is the recent escape, which was accomplished by cutting out acell window,
       and very possibly the inmates being reported as present during amajor count. It was reported by security staff
       and supervisors that there have been at least three known incidents where windows have been cutout. When
       asked what direction the staff has been given to address the window security issue, it was reported that the
       Population Captain issued adirective to shift commanders that on each Sunday an inspection of all windows, to
       include tapping with amallet, would be conducted and documented in the Duty Post Log. Acopy of the directive
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       could not be produced, and areview of three weeks of Duty Post logs revealed that there had not been any
       documentation that the checks had been completed.


       Recommendations:


           1,    Modify facility operations to accommodate current staffing levels. Consider reducing inmate movement,
                 out of cell time, and rotating recreation periods so that less inmates are out of their housing units at any
                 given time;
           2.    Review and revise Standard Operating Procedures (Sops) to reflect the current conditions i.e. staffing
                 and resources;
                  •   Identify the individual in the chain of command that is responsible to monitor that each individual
                      SOP is being enforced as directed
                  • Establish amethod to track corrective actions taken when deficiencies are identified
           3.    Implementa facility sanitation plan;
           4.    Ensure wardens and supervisors tour the facility as required and communicate expectations to staff;
           5.    The wardens and captains should make it apriority to find ways to motivate, inspire, and encourage staff
                 on acontinuing basis. Properly motivating, inspiring, and encouraging staff also has the added benefit
                 of lifting morale: and
           6.    The facility should be locked down with minimal inmate moveme nt and acontraband search and
                 security inspection of all areas conducted.




       Leadership and Command Structure


       Observations and Findings


       The facility has aleadership team that consists of    Warden Ill, Warden II, and aWarden I. As seen in the SCCF
       Table of Organization below, the Warden Ill has nine direct reports. The Warden II is responsible for security and
       operations and has four direct reports. The Warden Iis responsible for inmate classification and anumber of
       inmate services and inmate programming.


                                                     SCCF Table of Organization




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       As the overall facility administrator, the Warden Ill has considerably more direct reports than the assessment
       team would expect to find in amaximum-security facility. Possibly because of this, the Warden 11and Warden I
       are not being rnentored by the Warden Ill and therefore are reluctant to make decisions.


       During the several days that the ASCA team was on site, it was frequently reported that the leadership team did
       not initiate action unless they were specifically directed to do so by the Warden Ill. Staff were not
       knowledgeable about issues that directly affected their area of responsibility, often stating that they were
       waiting for direction or answers from the Warden Ill. This included the status of security equipment purchases
       or repairs e.g. microwave detection system repairs in the sally port, or replacement of the fluoroscope at the
       main entrance of the facility.


       SCCF relies heavily upon verbal communication. The Warden Ill holds ameeting with the two assistant wardens
       and three captains each weekday morning in his office at 8:00 AM. The events from the previous day and
       anticipated events for the current day are the discussed. Additionally, the Warden Ill convenes amonthly
       meeting of all supervisors and department heads, including all support services supervisors, on the third Monday
       of each month. These meeting cover arange of topics that the Warden Ill feels needs to be disseminated to all
       staff. Twice each year the Warden Ill holds ameeting with all staff to include correctional officers for awide-
       ranging discussion of topics where he discusses and dispenses relevant information that he feels is important for
       the staff to know. Minutes of the monthly and the bi-annual meeting are taken and were reviewed by the
       assessment team.


       Without exception, all three wardens conveyed to the assessment team that they felt important information is
       not being communicated well to lower-level staff. In particular, they felt that mid and first level supervisors
       were not communicating relevant information to the correctional officers.


       While verbal communication and personal interaction is important, in acorrectional organization
       standardization is necessary. Standardization requires communicating in writing as well as verbally. Policies and
       Standard Operating Procedures must be up to date, available to all, and there has to be aprocess in place to
       monitor staff compliance with mandated practices.


       Interviews with line level supervisors and security staff gave the assessment team the strong impression that the
       three wardens did not tour the facility frequently. The Warden Ill stated that he tries to get to all areas of the
       1/25/18                                                  7




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       institution weekly, but admitted sometimes he is unabl    eto meet that schedule. Both the Warden II and Warden
       Istated that they try to get to the back of the institution daily and admitted that they rarely tour on the evening
       shift.


       All three wardens attributed the current issues within facility security to alack of staff. There is acritical need for
       the leadership team to analyze the resources available and modify operations based on current staffing levels.
       Additionally, they must revise policies to give clear direction to staff on how to accomplish the functions for
       which they are responsible, including what is minimally acceptable. Equally important is to establish methods to
       monitor that vital security functions are being completed satisfactorily. The SCCF leadership team must
       regularly observe facility operations, ensure policies are being followed and correct staff when deviations from
       established policies are observed.


       Recommendations:

           1.    Review and revise the current table of organization;
                    • The Warden Ill should have no more than 4-5 direct reports
                    • The Warden land Warden II should be given clearly defined areas of responsibility with decision
                        making authority for those areas
           2.    Modify facility operations based on current staffing levels. Consider reducing inmate movement, out of
                 cell time, and rotating recreation periods so that less inmates are out of their housing units at any given
                 time;
           3.    All three wardens should be visible throughout the facility on adaily basis to show staff that they are
                 engaged and supportive of their efforts. Warden tours on the night shift should be discussed and
                 scheduled among the three wardens so that each warden has the opportunity to spend meaningful time
                 with staff on that shift. This is especially important in times where morale and staffing levels are
                 critically low;
           4.    All three wardens should make it apriority to ensure that relevant information is conveyed properly and
                 in atimely manner to all correctional staff. Clear communication up and down the chain of command in
                 aLevel institution is extremely important to the success of the operation and the safety of staff and
                 inmates;
           S.    The Warden Ill should review his staff meeting schedules and ascertain if he needs to meet more
                 frequently than the currently scheduled monthly and bi-annual meetings. More frequent meetings give
                 the warden the opportunity to share important information in atimelier manner with staff and also to
                 receive more input from his supervisors;
           5.    The wardens should develop a"crisis management" plan with the input of all stakeholders at the facility.
                 Input should also be obtained from regional and departmental levels. The plan should outline
                 specifically how to manage the crisis brought on by the severe lack of staffing at the facility. The plan
                 must be viable so that the staff can unquestionably execute it. The goal of the plan must be clearly
                 stated and obtainable. Once the plan is formulated it should be shared and communicated clearly and
                 concisely to all security staff and support service employees. Crisis management planning also has the
                 advantage of being agreat team building exercise;
           7.    Since communication from mid-level supervisors to line correctional staff is an acknowledged problem,
                 the shift commanders/assistant shift commanders should document any oral communications to shift
                 personnel in the Shift's Daily Action Log. The Shift's Daily Action Log should be reviewed by awarden on
                 adaily basis to ensure that all pertinent communication is being properly and timely delivered to all
                 correctional personnel. Whenever possible, all pertinent information should be communicated to
                 correctional staff In writing with acopy being secured in abinder at each post. Correctional officers
                 should review every new written communication daily and sign to acknowledge their notification and
                 understanding.


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       Security Staffing, Supervision and Span of Control

       Observations and Findings


       Security Staffing


       There is aconcerning number of correctional officer vacancies atSCCF, Of the 249 approved correctional officer
       positions, currently only 91 are filled. That leaves 158 correctional officer positions vacant, equating to avacancy
       rate of 64%. The industry standard for correctional officer vacancy rates is not to exceed 10% for any 18-month
       period'


       Staffing of security posts is achieved through the utilization of acombination of full time correctional officers,
       part time retired correctional officers, Security Guard Ipositions (locally known as correctional cubicle officers),
       and Radio Operators. Additionally, the facility regularly depends on voluntary overtime, mandated overtime,
       staff on loan from other facilities and CERT staff to mar its shift rosters.


       The Security Guard Ipositions were established to assist with manning cubicle control posts. While 110 of these
       positions have been established, only 14 are currently filled. Radio Operators are only assigned to the Facility
       Control Center. Both positions require significantly less training than correctional officers and probably are not
       good long term solutions to the security staffing issues at SCCF.


       Even with the utilization of anumber of creative staffing practices, the facility regularly fails to meet minimum
       staffing requirements specified in SOP #032 Staff Manning Requirements. Table 1below shows the staffing
       requirements specified in SOP #32.




                                     ________________       AM Shift
                                                          Fully Staffed
                                                                               Table 1
                                                                              AM Shift
                                                                           Minimal Staffing
                                                                                                 PM Shift
                                                                                               Fully staffed
                                                                                                                  PM Shift
                                                                                                               Minimal Staffing


                                     I Supervisors              4                 2                  4                2
                                     I Security Posts
                                                                57                40                 36              27
                                     IWeekday
                                     I
                                     Security Posts I
                                                               55                46'                36               27
                                       Weekend
                                        'Includes Inmate Visiting Staff


       While on site, the assessment team observed very few security staff within cellblocks and in areas where inmate
       movement occurs. Some cubicle control posts were manned on only one side and anumber of rover posts were
       not manned. Even on shifts that begin with minimal or slightly greater than minimal staffing, security staff are
       routinely pulled from posts to relieve mandated staff that have reached the maximum 16-hours on duty )and for
       emergency medical trips. Scheduled medical trips and emergency medical trips occur frequently due to the
       facility having an inpatient infirmary and a58-bed chronic care unit


       There is one correctional canine handler supervisor, two correctional canine handlers, and two correctional
       canine assistant handlers assigned to the facility. These positions are regularly pulled from their canine handler
       duties and utilized to fill posts inside the facility.


       2ACA Standards for Adult Correctional Institutions, 4 Edition, section c; Personnel, standard 4-3052

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       The assessment team believes that, if fully staffed, SCCF has an adequate number of posts that are appropriately
       located to supervise and manage the current inmate population.


       Supervision and Span of Control


       Seven correctional lieutenants and thirteen correctional sergeants provide supervision for line security staff.
       Four of the lieutenants are assigned as shift commanders for the two 12-hour shifts and the remaining three are
       assigned to an administrative shift. One serving as the segregation lieutenant, one as an administrative
       lieutenant, and one as the facility PREA coordinator. The thirteen correctional sergeants assist the shift
       commanders and segregation lieutenant in providing 24/7 supervisory coverage.


       As aresult of the security staff shortages, lieutenants and sergeants routinely perform correctional officer duties
       such as manning posts, assisting with counts and controlling inmate movement. While on site, the assessment
       team frequently observed supervisors performing duties that would normally be expected to be performed by
       correctional officers.


       Staff do not receive appropriate supervision and rnentoring. There was little evidence that supervisors make
       required tours. Supervisors seem resigned to the fact that they are understaffed and therefore unable to
       perform basic correctional practices such as proper inmate supervision, maintaining order, and conducting tours
       and inspections.


       The supervisory span of control for the general population currently falls on the responsibility of one captain,
       three shift commanders and two sergeants. A second captain oversees segregation, H Dorm, BShift staff and
       some administrative functions. Athird captain and three lieutenants are assigned to administrative functions.
       Shift commanders appear to be mired down with administrative functions and have little time to tour and
       supervise staff. Supervision is often left to the two population sergeants.


       Recommendations:


           1.    As ashort-term solution, prioritize the filling of the 95 Security Guard Iposition vacancies. Requiring
                 only a7-day training period, the filling of these positions can have the most immediate impact on
                 stafIin;
           2.    In the long term, consider moving away from POST certification for correction officers and moving
                 towards acorrection officer training program that is of ashorter duration. Many states employ a6-8
                 week training program facilitated at    regional location;
           3.    Reevaluate duties and responsibilities of administrative supervisory staff in order to possibly reassign
                 some administrative supervisors to line supervisory roles to assist with the supervision and mentoring of
                 staff; and,
           4.    Consider creating aChief of Security position responsible for all facility security and to cversee all
                 security staff. Most high security facilities have achief of security that reports to an operational deputy
                 warden. In this case, the SCCF Warden II,



       Operational Policies and Procedures


       Observations and Findings


       The majority of SCCF operational policies, Standard Operating Procedures (SOPs), were reviewed by the
       assessment team either in advance of the site visit or while on site. SOPs were found to be consistent with
       corresponding ALDOC Administrative Regulations. In general, SOPs were found to be well written; however,

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       many had not been updated in several years. The accepted practice for reviewing and updating facility policies
       calls for areview of each policy to be conducted annually with updates made as needed during the review
       process. Additional updates are made in between annual reviews on as needed basis. The Administrative
       Captain updates SOPS when advised to do so by awarden, based on achange in policy or institutional practice.
       There is no schedule in place to ensure each SOP is reviewed annually.


       The Administrative Captain is responsible for policy training and to ensure that staff read and understand the
       SOPS. There is aprocedure in place for the communication and dissemination of new and revised SOPS to staff.
       That procedure requires staff to read new or revised SOPS and to acknowledge by signature that they have read
       and understand the new or revised SOP. The Administrative Captain could not produce an acknowledgement
       form that had been signed in the past 24-months.


       The general consensus among the assessment team is that staff do not follow the SOPS, or, follow them in part,
       but not completely. Security staff consistently stated that they cannot follow SOPS because of staffing shortages,
       However, the assessment team observed Instances where staff should have followed SOPS, but did not do so, As
       an example, the officer assigned to Front Lobby Checkpoint post does not search staff bags. Another example is
       the facility has atool control and akey control policy; however, neither are currently being followed by staff.

       The Warden II stated that he was aware of staff not being able to complete duties as outlined in the SOPS, but he
       has not given staff any direction on what the security priorities are for their posts. The staff and management
       have used the excuse of short staffing for so long that they seem to have given up on finding ways to meet the
       most basic security functions.


       Recommendations:


           1.    As ashort-term solution, assemble ateam to review and revise as needed all SOPS to reflect operational
                 changes;
           2.    Ensure the procedure currently in place for the communication and dissemination of new or revised
                 SOPS is followed; and
           3.    Develop and implement an ongoing review process to ensure SOPS are reviewed annually and updated
                 as needed.



       Post Orders (Sops) and Logs


       Observations and Findings


       SOPS for security posts (post orders) are not reviewed and updated annually. The assessment team found similar
       issues while reviewing general facility SOPS not related to aspecific post. The Administrative Captain assigned to
       this task only updates SOPS when advised to do so by awarden based on achange in policy or institutional
       practice. The accepted practice for reviewing and updating facility policies calls for areview of each policy to be
       conducted annually with updates made as needed during the review process. Additional updates are made in
       between annual reviews on an as needed basis.


       A review of current SOPS for security posts revealed that the majority have effective dates within the past 24-
       months; however, there are some with effective dates over 10-years old. These include SOPS for critical posts
       such as Front Lobby Security Checkpoint and Sally Port Security Tower Officer. It is imperative that the duties
       and responsibilities delineated for each security post are regularly reviewed to ensure they reflect the current
       needs of each post and that it can be reasonably expected that staff can carry out those delineated duties during
       the course of the shift.
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       During atour of facility security posts, the assessment team requested to review copies of SOPs for security
       posts. The majority of pasts did not have SOPs on post The assessment team was informed that SOPs in some
       inmate housing units were removed during renovations due to roof damage and were not replaced. SOPs that
       were found on post were inspected. Staff acknowledgment forms included with the SOPs were found notto be
       current, indicating that staff have not reviewed post orders upon assuming newly assigned posts. It is an
       accepted practice that copies of security post SOPs are maintained at each fixed post and that when assuming a
       new post, staff acknowledge that they have read and understand the orders for that post by signing and dating
       the posts SOP. A master copy of all SOPs is maintained in the shift commander's office and is available for staff
       to review.


       While conducting the tour of security posts, the assessment team also reviewed Duty Post Logs throughout the
       facility. The Duty Post Log maintained in the Shift Commanders Office is typed and fairly detailed with
       documentation of counts, major inmate movement, inmate transfers in and out of the facility and incidents. It
       does not reflect facility tours and inspections made by supervisors. Duty Post Logs for security posts and
       cellblocks are handwritten and lack detail. They do not consistently reflect individual inmate activities,
       programming, incidents and security tours that take place. As an example, on the date of the escapes, the P
       Cellblock Duty Post Log does not note that two inmates from P-2 were unaccounted for and the 6:00am count
       total is inaccurate. Supervisory tours and Inspections, when found to be noted in Duty Post Logs, were difficult to
       identify as supervisory tours.


       Recommendations:


           1.    In light of the current staffing limitations, review and revise all security post SOPs to reflect current
                 duties and responsibilities and any operational changes;
           2.    Implement an ongoing review process of SOPs for security posts that provides for an annual review of
                 each SOP with additional reviews on an as needed basis;
           3.    Require all supervisors conducting tours and inspections to sign security post logs in red (or green)
                 acknowledging that they have toured the post and reviewed the log entries for that shift; and,
           4.    Reinforce with all staff the need for detailed log entries emphasizing the fact that Duty Post Logs are a
                 permanent record of what transpired during their shift, If it's not in writing, it didn't happen.



       Tours and Inspections


       Observations and Findings


       Facility Tours and Inspections


       Facility tours and inspections are not conducted as frequently as prescribed by policy. SOP #182, Institutional
       Security Inspections, dictates the frequency and requirements of tours and inspections by managers, supervisors
       and security staff. The SOP is fairly comprehensive and well written and designed to maintain facility security,
       sanitation and safety standards. Shift Commanders and Sergeants are required to tour and inspect the facility
       daily. Wardens, Captains and Department Heads are required to tour and inspect the facility weekly.


       The assessment team found that managers, supervisors and security staff are not conducting tours and
       inspections of the facility as often as they should. Tours and inspections by security staff and supervisors are
       rarely noted in Duty Post Logs. Supervisors and managers up to and including the warden level admitted that
       they do not tour as often as required.


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       The failure of security staff, supervisors and managers to regularly and consistently tour the facility is evident in
       the overall poor condition of the facility that was observed by the assessment team while on site.


       Inmate Housing Unit Tours and Inspections


       Tours and inspections of cellblocks and inmate dormitories are not conducted as prescribed by SOPs. SOPs for
       cellblock and inmate dormitory rover posts specify that a"check" will be made every 30 minutes with the
       exception of chow and count times. The accepted standard for tours of inmate housing areas by security staff is
       every hour in general population units and every 30 minutes in restrictive housing units. A review of Duty Post
       Logs for cellblocks and inmate dormitories revealed that "checks" are not always recorded in the logs. While on
       site, the ASCA assessment team observed very few tours and inspections of inmate housing areas being
       conducted either by rovers or by supervisors, Security staff attributed their failure to conduct required tours and
       inspections of inmate housing areas to the lack of staff.


       Tours and inspections of inmate housing areas by security staff Is critical in preventing escapes, suicides, and
       assaults as well as enforcing rules and regulations among the inmate population. Security staff should be touring
       inmate housing areas as required by the accepted standard. Supervisors should be touring inmate housing areas
       at least once per shift.

       Recommendations:


           1.    Ensure managers and supervisors conduct tours and inspections in accordance with Sop #182;
           2.    Ensure all staff consistently document tours and inspections of the facility and of inmate housing areas
                 in Duty Post Logs;
           3.    Revise SOPs for applicable rover posts to define what their responsibilities are during a"check"; and,
           4.    Revise SOPs for applicable rover posts to reflect the accepted standard for tours of inmate housing areas
                 by security staff; Every hour in general population units and every 30 minutes In restrictive housing
                 units.



       Facility Access Control


       Observations and Findings


       There are two ways to access the SCCF; the front entrance and the vehicle sally port. Information regarding the
       vehicle sally port will be included in the discussion on the perimeter. Standard Operating Procedure #061, Front
       Lobby Security Checkpoint, establishes the responsibilities of the Checkpoint Operator. The assessment team
       was able to observe entrance procedures for three consecutive days. Several shift changes were observed, as
       well as general traffic into the facility. There were no visits scheduled during the time that the assessment team
       was onsite, therefore, visitor processing was not observed. Also, no contractors were observed entering the
       institution during the time of the site visit. Assessment team members were required to sign in daily, and issued
       Visitor ID. The team was provided with escorts during the entire time of the site visit.


       It was reported that there is amajor issue with contraband at this facility. The two commonly reported methods
       of introducing contraband are: 1) Thrown over the perimeter fence; and 2) Visitors and/or staff bringing it in
       through the main entrance.


       According to SOP #061, Front Lobby Checkpoint, the front entrance will be equipped with awalk-through metal
       detector, an X-ray machine (fluoroscope), and ahand-held metal detector. At the time of the site visit, only a
       walk-through metal detector was present. It was explained that the X-ray machine had been broken for some

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       time (no one could give an exact date). It was also explained that someone had "stolen" the hand-held metal
       detector (again no exact date was given) The Warden Ill stated that he submitted arequest for anew X-ray
       machine aver six months ago; he also produced acopy of afollow-up purchase order for anew X-ray scanner
       (10/17/2017). He sent afollow-up correspondence (12/20/201.7), asking the status of the purchase order. At of
       the time of the site visit there has been no progress in procuring the needed piece of equipment.


       All packages entering the institution must be inspected by the Checkpoint Operator. Due to the lack of the X-ray
       machine, these inspections are completed manually. Assessment team members were present when packages
       were being inspected, at the same time that staff was being processed into the facility. The inspection process
       was cursory, at best.


       The front lobby was avery hectic location during shift change. A sergeant was checking individuals into the
       facility and notifying them of their assignments. Each employee being processed through the metal detector
       was placing aclear plastic bag with their lunches and personal items on atable for inspection by the Checkpoint
       Operator, then proceeding through the walk-through metal detector. A single officer was assigned to complete
       the processing of the oncoming shift. He performed aperfunctory search of the bags; and, although the metal
       detector alarmed on several individuals, no one was required to submit to apat search or pass through the
       metal detector asecond time.


       SOP #061 states;
              The employee(s) assigned to operate/monitor equipment will ensure that every person entering the
                 facility is screened by the walk-through metal detector/x-ray machine checkpoint.


                 No one is allowed to enter the facility via central control who fails to clear through the checkpoint (walk
                 through metal detector, x-ray machine, pat search, etc.)


       Understandably, during shift change there Is surge of staff entering the facility to begin their tour of duty. The
       process that was observed appeared to be more about getting the staff into the facility, rather than preventing
       the introduction of contraband.


       SOP #061 states:
              The warden or his/designee will daily establish the parameters for the random sea rchfor the following
                 day and relay that information to the checkpoint operator. For instance, the order may be given to
                 search every sixth employee entering the facility. The search will be apat search with shoes removed.
                 The pat search will be in addition to being subject to the walk-through metal detector and the x-ray
                 machine.


       It was reported by the Checkpoint Operator thatthe use of random searches is seldom implemented.


       If it is truly believed that the front entrance of the facility is one of the major introduction points for contraband,
       very little effort is being expended to establish an effective interdiction process. Entrance processing is
       predictable and ineffective.


       Recommendations:


           1.    Appoint an individual to be responsible for the overall security program at SCCF. Consider creating a
                 Chief of Security position;
                     •   To be responsible to oversee the development, implementation, and annual review of SOPS
                     •   To be responsible to monitor the condition of security equipment within the facility; and to track
                         the status of repairs and replacement of equipment)as needed
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                     •   To be responsible to make decisions regarding the deployment of security staff
                     •   To oversee an institution security inspection process
                             o Identification of areas to be inspected
                             o    Provide direction regarding the procedure for inspection
                             o    Determine the method to document inspections
                             o    Determine the method to ensure that security deficiencies are corrected.
           2.    Properly equip the Checkpoint
                     •   Replace the missing hand held metal detector
                    • Expedite the replacement of the X-ray machine
           3.    Re-implement the practice of daily random searches at the Chepoint
           4.    Add at least one additional employee to the checkpoint during shift change to assist in the processing of
                 employees; and,
           5.    Ensure that aranking officer is present to specifically monitor the search process during the change of
                 shifts.



       Facility Searches

       Observations and Findings


       ALDOC Administrative Regulation #322, Security Audits, establishes aprocess to conduct comprehensive security
       inspections (audits) of three major institutions per year, The Associate Commissioner of Operations reported
       that, due to staff shortages in the ALDOC, no audits have been conducted for approximately three years. He also
       reported that the responsibility for implementing Administrative Regulation #322 was now the responsibility of
       the Inspector General. Institution staff were unable to recall when the last audit was conducted. Staff was also
       unable to produce acopy of the report for the last audit.


       SOP #182, Institution Security Inspections, states:
                 The Warden or his designee is responsiblefor ensuring that periodic institutional inspections are
                 conducted, reported and discrepancies addressed so that security, son itotion and safety of the
                 institution is maintained.


       A request to produce the last report of an institution security inspection had negative results.


       Given the recent escape it is important to note that SOP #182 also includes the following language:
               Weekly—The Warden, Assistant Warden, Captain or Department Heads will inspect the institution on a
                 weekly basis.


                 Maintenance tunnels will be inspected at least once each week.


                 A Correction Officer will physically challenge all inmate housing unit windows, checking for tampering,
                 cuts, etc., by pounding the windows with arubber mallet at least twice each week. A 302-A Incident
                 Report will be completed to document the inspection and any discrepancies.


       It was reported by the Population Captain that, after the recent escape, he issued amemo to all shift
       commanders requiring that all windows in the facility would be inspected (tapping with arubber mallet) on
       Sunday evenings, and that the results would be documented in the Duty Log. Acopy of the memo was
       requested and could not be produced. A review of the last three Sunday Duty Logs did not reveal any indication
       that the checks had been completed.
       SOP #110, Search and Shakedowns, states:
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                 Shift Commanders will ensure that Cell Block rovers conduct aminimum of (2) two cell searches each
                 shift in their assigned Cell Blocks. Pat searches will be conducted randomly by the Cell Block Rovers or
                 as the situation dictates. Latex gloves are available in the Shift Offices for searches, etc., and the
                 security staff is encouraged to use gloves.


       SOP #110, Search and Shakedowns, does not include atotal facility search plan. The SOP lists several areas to
       search and also provides time frames for those searches; what is lacking is afacility search plan identifying all
       areas of the facility to be searched, frequency of searches, direction regarding the methods of search, and
       documentation requirements.


       SOP #056, Population Cellblock Rovers, states:
                 Consistent with the institutional policies and requirements, assigned rovers will conduct sufficient
                 random personal and area searches to eliminate the flow of contraband. A minimum of (4)four cell
                 searches and personal searches will be conducted each shift. Inmates must be present when atoll
                 possible during cell searches. These searches will be reported to the shift clerk. An incident report and
                 disciplinary will be completed on any contra band found, when applicable. Tasks such as conducting cell
                 searches, escorting hostile and/or combative inmates, etc. will be conducted when there are at least two
                 (2) or more officers present

                 The cell block rover will ensure that clothes, linen, books, papers, etc. are not hanging from the beds,
                 stored under the mattresses or stacked under the beds, and pictures, etc. are not affixed to the walls.
                 Each inmate's bed may have one (1) towel, one (1) washcloth, one (1) pair of tennis shoes, one (1) pair
                 of boats, and one (1) pair of shower shoes. All of each inmate's property should be stored in the
                 inmate's assigned locker box in each cell except for the inmate's shoes which should be neatly placed
                 under the bed or has otherwise been approved by the Warder.


       SOP #110, Search and Shakedowns, states:
                 All inmate housing units will be searched every 30 days.
                 All other areas will be searched randomly every 60 days.


       Staff report that cell searches are not being completed because there seldom are two officers available to
       conduct the searches.


       Atour of the facility was sufficient to reveal that security inspections and shakedowns are not being conducted.
       The majority of cells have makeshift clotheslines and curtains. Many windows within the facility have been
       vandalized, including some of the windows that have been recently installed by acontractor. Interior fencing
       around Hdorm (suspected of being amajor source of contraband in the institution) has been missing for some
       time allowing inmates to gain access to the segregation units. Excessive amounts of building material and debris
       is located outside the Trade School; this potential source of weapons and escape implements is readily
       accessible to inmates assigned to that area, as well as to inmates housed in Hdorm. Approximately 50-75 feet of
       rubber hose was observed mounted to the exterior wall of the inmate gym.


       Given the current level of staffing, it is obvious that the inmate population feels empowered and is taking every
         portunitv to attempt to intimidate employees. This is all the more reason why the existing policies regarding
       security inspections and searches should be implemented. While observing the morning count, one assessment
       team member saw and inmate clothesline with acurtain blocking the door to the cell. The curtain had writing
       on it; upon closer inspection, the words "You made it this far. Now get out" were observed. No attempt was
       made to remove that curtain or the dozens of others that were present in the unit.




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       Inmates are released to go to breakfast at approximately 3:30 AM; the assessment team observed movement
       during this time. Lighting was so poor that it was difficult to recognize inmates. In these low light conditions,
       inmates could easily be retrieving or moving contraband undetected or, involving themselves in other illicit
       activities.


       During the three days that the assessment team was on site, no member of the team observed any Inmate in the
       facility being pat searched by an officer. It was reported by staff that cell phones are so abundant In the facility
       that pat searches frequently result in phones being confiscated, yet pat searches are not being conducted.


       A list is generated monthly of 5% of the inmate population, identifying those inmates to be tested for drug use.
       Those found guilty of drug use are charged for the confirmation test, and normally receive asanction of loss of
       privileges. The person responsible for the drug testing works part time. Of the 62 drug tests that were
       performed. 43 were sent out for confirmatory testing, 7were returned with positive results. This appears to be
       too great of adisparity between institution drug testing and confirmation testing.


       There are regulations and SOPs in place that if implemented would significantly improve security at SCCF. What
       is missing is asingle person who is responsible for security. Procedures are written, directives are issued, but
       there is not asingle person responsible to ensure that all security functions are performed. Reports are written
       and filed with no follow up. How does amicrowave system malfunction for years without someone following
       up? How does the X-ray machine breakdown and the hand metal detector go missing without someone revising
       the entrance procedure until such time as equipment can be replaced? Who made the decision that it is
       acceptable to repair perimeter lighting annually rather than as needed?


       While amajor concern of the assessment team is the lack of staffing, there has been no significant change in the
       management of the inmate population to counter the reduction in staffing. As an example, with the lack of staff,
       there are fewer rovers in the inmate housingunits however all of the inmate housing units continue to release
       all inmates in the unit to the dayroonis. In many correctional systems, adecision would be made to release only
       one tier at atime. This would allow for the reduced number of staff to deal with areduced number of inmates,
       while still completing the post duties.


       Recommendations:


           1.    Identify asingle person to be responsible for all security functions. Consider creating aChief of Security
                 position;
                    •   Review, revision, and implementation of SOPs
                    •   Deployment of staff
                    •   Shakedowns and inspections
                           o   Document results
                           o   Follow upon any discrepancies identified
           2.    Update SOP #182, Security Inspections;
                   •    identify all areas to be inspected
                   •    Determine the frequency of inspections in all areas
                   •    Provide specific direction for the methods of inspection e.g. visual, tapping, probing etc.
                   •    Identify items to be inspected e.g. locks, windows )doors, drains, pipe chases, etc.
                   •    Establish amethod of documentation
                           o   Identification of the individual(s) performing the inspection
                           o   Results of the inspection
                           o   Identification of the individual responsible for the inspection process
                                      r   Scheduling
                                     p    Documentation of results
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                                       ,-   Documentation of corrective action taken
           3.    Update SOP #110, Search and Shakedowns;
                    •    Divide the facility into manageable sections to be searched
                    *    Establish the frequency of required searches in each area
                    •    Provide direction regarding the acceptable methods of searches
                    •    Establish amethod to document the results of searches
                    •    Identify an individual to be responsible to manage searches
                            o   scheduling
                            o   Documentation of results
                            o   Documentation of corrective action taken
           4.    Install additional lighting within the facility;
                    •   Additional lighting on walkways from units to dining hall
                    •   Additional lighting around H Dorm
                    •   Additional lighting in the recreation field
                    •   Additional lighting behind Industries and the Trade school
           S.    Require rovers to randomly pat search inmates;
                    •   All SOPs for posts that monitor movement within the facility should include the provision that
                        staff, at least, randomly, pat search Inmates
                    •   It should be mandatory that all inmates entering and leaving through the gate )between H dorm
                        and the tunnel, are pat searched
           6,    At regular intervals lock down units and use the available staff to conduct security inspections and
                 shakedowns;
                    •   Several members of the CERT team are assigned to the facility twice per month. Rather than
                        using them to man posts, lock down units on arotating basis and have the team members shake
                       them down
           7.    Contact the laboratory that does the confirmation tests for positive drug tests;
                    •   Determine if the lab is testing at "drug cutoff levels" that are higher than the institution drug test.
                        (e.g. if the institution is testing marijuana at 50 ng/ml and the lab is testing at 100 ng/rnl, many of
                        the institution positive drug tests will be returned as negative)



       Perimeter Security


       Observations and Findings


       The SCCF perimeter is reported to be alittle over one mile in length. The perimeter has two parallel 12' chain
       link fences. The exterior fence has nine coils of razor wire, with acoil of concertina wire on the ground level of
       the outside of the fence. The interior fence is equipped with ashaker alarm system, three coils of razor wire,
       and additional coils of concertina wire on the ground level inside the perimeter. With the exception of the
       vehicle sally port, the entire perimeter also includes alethal electric fence that also has two additional coils of
       razor wire. The vehicle sally port is equipped with amicrowave detection system, which has reportedly not been
       operational for several years. No documentation could be produced that provided an exact length of time that
       the microwave -system was inoperable.


       There are many areas on the perimeter where repairs have been made by institutional staff. Rebar and
       expanded metal have been installed in areas that have either been breached or determined to be vulnerable.
       After an escape in 2001, aconcrete footing was installed around the exterior fence. Much of the concrete footing
       is now above ground and in several areas has been washed out and undermined due to erosion.



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       The area between the fences which would normally be sanitized has asubstantial amount of vegetation, which
       could interfere with visibility both from the Vehicle Sally Port Tower and the Mobile Patrol.
       There are no cameras on the perimeter or on the buildings within the facility facing out toward the perimeter.


       Four towers are located in Zones 1,6,8, and 12. Zone 1is the Sally Port Tower which is manned 24-hours per
       day. Zones Sand 12 Towers are not manned due to staffing shortages at the facility. Zone 6Tower is manned
       when inmates are in the recreation yard.


       Visibility from the Sally Port Tower is good during the day, but at night visibility is seriously compromised. There
       is an excessive amount of building material and debris located outside the Trade School and the Industries
       Building, which in addition to being asource of weapons and escape implements, also provides inmates with
       places to conceal contraband orto avoid detection from the Sally Port Tower. The Sally Port Tower is equipped
       with a12-gauge shotgun and a.40 Cal. handgun; neither weapon would be effective to respond to an
       emergency unless it occurred directly below the tower. Additional weapons are also stored in the tower and
       issued to correctional officers that are assigned to details outside the facility e.g. emergency hospital trips.


       The perimeter is equipped with high pressure sodium lighting. There are 68 lighting polls each with two high
       pressure sodium lamps, as well as two impact lights that are capable of providing lighting toward the perimeter
       road and to the tree line beyond the facility. The assessment team drove around the perimeter at 3:30 AM on
       the second day of the site visit; anumber of the sodium lamps were not operable. It was later reported by the
       maintenance department that 23 of the perimeter lights were scheduled to be replaced. On the morning that
       the assessment team observed the perimeter, the impact lights were not on, which is the practice at the facility.
       Impact lighting is only turned on during emergency situations e.g. escapes. Maintenance reported that there are
       130 impact lamps on the perimeter and that at this time between 50-60 need replacement. With the exception
       of the impact lighting, there is no significant light source between the perimeterfence and the tree line.
       According to staff reports, individuals frequently approach the fence undetected and throw contraband into the
       prison yard.


       It was reported that perimeter lighting replacement only occurs annually when the Maintenance Department
       can obtain alift sufficient to provide access to the light fixtures. It was also reported that at this time it is
       unknown exactly how many light fixtures may be damaged and have to be replaced; anumber that will not be
       determined until the lift is available and the repair/replacement process can begin.
       Lighting on the buildings within the facility facing the perimeter is poor. Many lights are inoperable and those
       that are working are inadequate. Except for areas directly below the existing lighting, an inmate could easily
       hide in the shadows; in fact, it is believed that the inmates who escaped on December 4, 2017 were able to
       follow the building lines until they were able to gain access to the vehicle sally port and eventually escape.


       A road circles the entire perimeter. A Mobile Patrol Vehicle is assigned at all times. The perimeter road is in
       serious disrepair, which could cause adelay in the vehicle response to reported emergencies. When
       interviewed, aMobile Patrol Officer reported that visibility at night was poor. It was also reported that because
       of the large number of cell phones in the possession of inmates it is very possible that inmates communicate
       dire.ctly,to individuals on the outside of the2erimetewho may be deliver[gcontraband. It is believed that
       inmates on cell phones are reporting on the location of the Mobile Patrol Vehicle, thereby enhancing the
       potential to throw contraband over the perimeter without being detected.


       SCCF has amajor contraband problem. According to staff who were questioned, the primary introduction points
       for contraband are: 1) Over the fence, and 2) Delivered by visitors and aminority of staff through the front
       entrance of the facility. There is avery active K-9 Unit at the institution. Although they are not part of the
       mobile patrol, they could certainly supplement the perimeter security workforce, The K-9 Unit has identified
       many of the major pathways by which outsiders deliver contraband to the facility; they frequently patrol these

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       areas and have also developed anumber of techniques to identify when intruders have entered the area
       undetected.

       Fence and Detection System Checks


       Each shift is required to conduct aperimeter fence check. A review of Duty Post Logs indicates that the checks
       are being conducted. However, with the exception of SOP #066, Perimeter Security, no information was
       provided as to exactly what was expected from the individual conducting afence checks.


       SOP #066, Perimeter Security, states:
                 The perimeter fence razor wire, etc. will be inspected during the scheduled fence checks to detect rusted
                 or broken areas of the perimeter fence.


        Duty Post Logs indicate the times when aperimeter fence check began and ended. There was no indication in
       the logs that any problem areas were identified with the fencing. No additional reports were produced which
       would indicate that the fence check was anything but acursory review of the fence fabric, looking for large gaps.



       SOP #056 Perimeter Security also states:
                 An electrified Jet halfence system located between the double chain link fences and encompasses the
                 entire perimeter with the exception of the Sally port. The system will be tested/checked by maintenance
                 staff at least once every day-Monday through Friday. The results will be documented in the Central
                 Control Log and the Electric Control Building Log.


       The practice in place is that whenever amember of the maintenance staff exits the facility through the vehicle
       sally port, he/she is required to enter the Electrified Control Building and check the system. The check consists
       of determining that the circuit loop is intact i.e. the entire perimeter Is covered with live voltage, and that the
       voltage is being maintained at the required level. The check is documented in alog located in that building, no
       notification is made to Central Control that the check has been made. A review of the documentation in the
       Electrified Control Building revealed that checks are consistently made several times per day. The Plant
       Maintenance Supervisor reported that if an issue was identified with the electric fence he would notify the
       Warden.


       Fence Alarm System Checks


       SOP #066, Perimeter Security, states:
                 Formally trained electronic technicians, who are trained in the maintenance and repair of all perimeter
                 electronic detection systems, elect rifled fence systems, etc., will be on staff and/or on call.


       According to the Plant Maintenance Supervisor there is no person on the maintenance staff trained to maintain
       the shaker or the microwave systems. Any repairs to either system must be performed by technicians assigned
       to the Central Office Engineering Division.


       The maintenance department does, however, perform weekly tests of the shaker system, The "Thumper" test
       consists of amaintenance employee walking the entire inner perimeter fence and attempting to cause an alarm
       in each zone. There is also an individual in Central Control monitoring if the alarms are activating.


       Shaker systems are very susceptible to extreme weather conditions. Nigh winds often cause alarms. A review of
       the last two weeks of testing results for the shaker system revealed that during the week of 12/25/17, the test
       resulted in over 400 alarms; during the week of 1/1/18 the test resulted in 233 alarms. Central Office

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       Engineering was reportedly at the institution to service the shaker system, between tests; It is believed that they
       adjusted the sensitivity of the system (turned It down); however, this has not been confirmed.


       The Microwave system has been inoperable reportedly for years. The Sally Port area is the only area of the
       perimeter not covered by the electrified fence. During the time of the site visit)it was reported that repairs to
       the system are in process; there is no estimate when the repairs will be completed. Other than the previously
       mentioned language there is no reference in SON regarding who is responsible to test the microwave system,
       the method to conduct that check, or to document the results.
       Because the microwave system is not operational, avehicle is assigned on the night shift, positioned at the
       Vehicle Sally Port.


       Vehicle Sally Port


       One officer was assigned to the Vehicle Sally Port. The duties of this officer are listed in SOP #077, Sally Port
       Officers.


       SOP #077, Sally Port Officers, states:
                 The Sally Port Officer will search all vehicles entering or leaving the institution via the Sally Port to
                 include, but not limited to, the cargo, cargo compartment, passenger compartment, glove compartment,
                 sun visors, seats under the hood, under the dash and any other areas in which an inmate or contraband
                 could be concealed. An iron rod will be used to probe trash or other such materials to detect hidden
                 inmates and arolling extension mirror will be used to visually check underneath the vehicle.


       Two vehicles were observed being processed into and out of the facility. One vehicle was an institution van and
       the other was asemi-tractor trailer truck making adelivery to the industries program. It was explained that both
       vehicles were DOC vehicles, operated by DCC employees.


       The Sally Port Officer searched the cab of the van, and checked under the hood. The cargo space was not
       searched, and there was no visual inspection underneath the vehicle with arolling extension mirror.
       When the vehicle departed, the same type of search was completed.


       When the semi-trailer truck entered the facility, it was too long to fit into the Vehicle Sally Port. Both gates in
       the Sally Port were opened to allow the truck to enter. The vehicle cab was searched. The cargo area was not
       searched, and there was no inspection of the underneath of the vehicle using mirrors. The hood was not opened
       to check that area. It was explained that this vehicle was under escort at all times. The truck was inside the
       facility for approximately 30 minutes.


       It should be noted that there is awarehouse located directly across from the Vehicle Sally Port. Some dry goods
       are stored in that area, but the space is primarily filled with salvage materials and debris. If the area was
       cleaned out, it would bean excellent storage area.


       Introduction of Contraband


       Staff readily express their frustration over the amount of contraband within the facility, specifically cell phones,
       and drugs. Many also reported that weapons have also been introduced into the institution. While they admit
       that some staff may be guilty of introducing contraband, most employees report that the majority of the
       contraband is being thrown over the perimeter fence, then retrieved by inmates. It is the consensus among
       those staff reporting that the two most common areas to introduce contraband are over the fence and into the
       recreation yard; and over the fence behind H Dorm. Both of these areas allow inmates to approach very close to
       the institution perimeter to retrieve contraband items.

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       Recommendations:


           1,    Clear all vegetation from between the perimeter fences;
           2.    Remove all building materials and debris currently located behind the trade school and Industries.
                 Dispose of the debris and relocate the building materials outside the perimeter;
           3.    Have the Engineering Division obtain an evaluation of the existing perimeter to determine if repairs or
                 replacement is the best option;
                     •   Include drainage issues
                     •   Repairs or replacement to concrete footings on the exteriorfence
                     •   Repairs to the perimeter road
                     •   Expansion of the vehicle sally port
                     •   Improved lighting
                     •   Installation of cameras
          4.     Upgrade perimeter lighting;
                     •   Current lighting is insufficient. Tower officers and mobile patrol officers do not have acceptable
                         visibility of the area between the buildings and the perimeter
                     •   Lighting for the area between the perimeter and tree line should be installed
           S.    Change the current practice of repairing perimeter lighting on an annual basis;
                     •   Perimeter lighting should be repaired as soon as possible when an issue is identified
           6.    Install PTZ cameras on the perimeter;
                     • The towers in the two areas identified as the most likely introduction points for contraband
                       (Zone 6and Zone 8) are not manned
                     •   Only one mobile patrol vehicle is typically assigned to the perimeter
                     • Cameras could be monitored in Central Control
           7.    Stop the practice of opening both sally port gates to allow semi-trailer trucks to enter the facility;
                     •   Consider using the warehouse opposite the vehicle sally port to offload loads from trailer trucks.
                     •   Have industries store materials in the warehouse and bring materials in as needed
          8.     Develop an SOP regarding fence checks;
                     •   Develop areport form to be completed by the person completing the check
                           o  Condition offence fabric and fence ties
                           o    Condition of razor wire
                           o    Condition of concreted footings
                           o    Lights needing replacement
                     •   Define the method to be used to test detection systems (Shaker and Microwave);
                           o    Who is responsible
                           o    Exactly how the system is to be tested
                           o    How is it documented
          9.     Identify aranking security officer to be responsible to monitor all issues regarding the perimeter;
                     •   To receive all documentation regarding fence checks
                     •   To receive all documentation regarding detections system checks, and lethal fence checks,
                     •   To receive all reports about lighting issues on the perimeter.
                     • To be responsible to follow up on any repair orders so that major deficiencies do not go
                        unattended,
          10. Install cross fencing in the recreation yard creating an additional buffer zone between recreation yards
                 and the perimeter fence. The additional space should make it more difficult to deliver contraband over
                 the fence into the yard. The fence should have agate large enough to allow maintenance vehicles to
                 enter the area, if needed. Razor wire should be installed on the top of the fence;
          11. Install fencing to prevent inmates in H Dorm to access any areas near the perimeter;
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           12. Repairthe fencing between H Dorm and Segregation Units;
           13. Have inmates in HDorm use the former staff dining room for meals. This will reduce the ability of
               inmates in this area to transport contraband into general population;
           14. Pat search all inmates going through the gate leading to and from H Dorm. This practice should reduce
               the amount of contraband moving from that area into general population;
           15. Replace the lighting on exterior facing buildings to increase illumination of the areas between the
               buildings and the perimeter;
                   •   Continue the current practice of replacing high pressure sodium lights with LED lighting to
                       improve illumination between interior buildings and the perimeter
           16. Due to the limitations of the existing Sally Port Tower armaments, equip the tower with and AR 15 or
               similar weapon which will be effective for long range coverage



       Inmate Movement and Control


       Observations and Findings


       Over the last two years, Cornerstone, aprivate contractor, has been on-site installing new locking mechanisms
       on security doors in the facility. The locks in the high security cellblocks were in dire need of replacement and
       upgrading to asturdier and more reliable security lock. Cornerstone also replaced security glass in and around
       the cell block areas. Among other items that Cornerstone installed were surveillance cameras in the dayrooms
       and in the hallway leading to the playroom entry door, An Inspection of these cameras revealed that the
       cameras were placed in areas in the playroom that were easily accessible to the inmates As aresult, the
       cameras have been rendered totally inoperable in Pand Q Cellblocks that house alarge number of Level S
       inmates. The Inmates have scuffed the lens of each camera making it appear on the monitor In the celiblock
       security cubicle as an amorphous white blob. The cameras also only save the video for 72 hours, making it very
       difficult to go back and review activity and incidents that the camera previously captured.

       The facility is not in compliance with SOP #137, Inmate Movement Control. The assessment team observed on
       numerous occasions that the inmate population was able to travel from their housing units to other locations
       around the facility without being officially authorized by staff. It was also noted that many inmates did not wear
       the required identification wristbands. It was clear that correcnonal staff were reluctant to challenge inmates
       about their intended destination and not weari ngtherequired wristband. The facility does not utilize awritten
       pass system that officially authorizes inmates to travel from Point Ato Point 3.


       The facility conducts six counts over a24-hour period in accordance with the mandate specified in SOP #112,
       Inmate Counts. Counts are conducted at 6:15 p.m., 9:00-10:30 p.m., 12:00 am., 2:00 a.m., 6:30 am. and 1:00
       p.m. A bed roster count is conducted per policy every night during the 9:00-10:30 p.m. count and every
       Thursday and Saturday at the 6:30 am. count. However, the facility does not always comply with the
       requirement in the governing SOP to have two officers performing independent, redundant counts. The
       assessment team observed correctional officers taking count in three inmate housing areas on January 10, 2018
       at acount that commenced at 5:28 a.m. The assessment team members noted that the counts were not
       performed in the independent, redundant manner required by policy. The team members also noted that
       inmates were not in their cells during count making it difficult to perform an accurate count. Conducting proper
       inmate counts is one the most important, essential, and basic functions of acorrectional officer.


       There is no video surveillance equipment to monitor the inside compound area at the facility or its perimeter
       fence. It is important for aLevel institution to he able to monitor movement within the compound and around
       the perimeter. Video surveillance with recording capability is an essential tool at high security institutions to
       augment and enhance the enforcement of control and security by the correctional staff. Protecting the integrity
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       of the perimeter fence with electronic detection systems is further enhanced by also surveilling the entire
       perimeter with security cameras. This institution has consistently had issues with subjects throwing contraband
       items over the fence into ayard area that is readily accessible by inmates to retrieve the contraband items. The
       facility administrators concede that items such as cell phones and drugs are among the mostfrequent items
       introduced in this manner. Contraband cell phones and drugs within aprison environment create aperilous
       situation for both staff and inmates,


       During times when staffing levels are critically low the warden or designee should have the discretion to curtail
       inmate activities in order to maintain correctional staff on higher priority pasts. As an example, the assessment
       team observed that acorrectional officer was assigned to open and supervise recreation in the gymnasium for
       six inmates. Any activities that occur outside the inmate housing units should be subject to being curtailed or
       cancelled when staffing is deemed to be critically low by the shift commander.


       The degree of innate movement and control at aLevel         Institution is very difficult to appropriately manage
       when staffing levels are critically low as they are at the SCCF. On an average work day, the SCCF has anywhere
       from 18-25 correctional staff including supervisors to fill all security posts. The day shift requires aminimum of
       42 correctional staff including supervisors during weekdays and the night shift requires aminimum of 29
       correctional staff including supervisors. The extreme staffing shortage at this facility severely hinders the staff's
       ability to maintain proper movement and control of the inmate population. So many critical posts must be left
       unmanned thatthe inmates have the ability to move around the facility with very little staff supervision.
       Without the ability to properly maintain inmate movement and control, the inmate population goes
       unchallenged into areas of the facility that would ordinarily be off limits to them. The severe staffing shortage
       also exacerbates the staff's inability to control the movement of contraband throughout the facility. The
       inmates' ability to move contraband unabated throughout the facility creates avery dangerous environment for
       both staff and inmates.


       It is an accepted correctional practice to place Inmates into alockdown with all inmates being locked securely in
       their cells immediately after aserious incident occurs at an institution. The lockdown should remain in effect
       until the warden or designee decides that it is safe to once again resume anormal schedule. SCCF utilized a
       lockdown immediately after the December 4, 2017 escape, but allowed inmates out of their cells to go to the
       dining hall within six hours of the discovery of the escape. At that time, the escape was still being actively
       investigated and staff were involved in apprehension efforts. The warden should have the discretion to feed
       inmates in their cells and cease all other activities with the exception of medical emergencies during alockdown
       to better ensure the safety of the institution, to free staff to concentrate solely on dealing with issues
       surrounding the serious incident and its aftermath, and to keep potential evidence related to the serious
       incident from being destroyed, removed, or contaminated.


       It was clear to the assessment team that the SCCF facility desJg and critically low correctional officer staffing
       levels did not allow for the proper control and movement of Level 5offenders. The ASCA team observed that
       the Level 5offenders were very aggressive toward staff and staff did not challenge them for fear of their
       personal safety due to being alone with no immediate backuo. All correctional staff that were interviewed
       readjjy acknowle dged that SCCF Level SoffenderLaossessed weapons drugs, and cel(2hones in abundance.
       Serious contraband such as weapons, cell phones, and drugs creates potentially harmful situations in aprison for
       staff and offenders particularly in ahigh security facility.


       Recommendations:


           1.    Reevaluate the placement of the existing security cameras to locate them in places that are not
                 accessible to tampering by the inmates and expand the recording capability for each camera beyond the
                 current 72 hours. The industry standard for surveillance camera recording capability is generally six

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                 months. The facility should build protective cages around the cameras to prevent inmate tampering if
                 the cameras cannot be moved;
           2.    Retrain security staff to properly supervise all inmate movement in accordance with SOP 137 and
                 discipline inmates that have destroyed or are caught not wearing the required wristband;
           3.    Retrain security staff to conduct proper counts in accordance with SOP 112
           4,    Revise SOP 112 to include aprovision that all inmates in the housing area during count must be secured
                 in their assigned cell for the duration of the count;
           5.    Revise SOP 112 to require abed roster count each day at 6:30 a.m. instead of just Thursday and
                 Saturday;
           6.    Consider the addition of surveillance equipment with adequate recording capability for both the inside
                 compound area and along the entire length of the perimeter fence;
           7.    Revise SOP 137 to allow the warden or designee the discretion to curtail or cancel inmate activities
                 during times when correctional officer staffing is deemed critically low;
           8.    Consider reducing the inmate population at the facility to better fit the staffing that is available to the
                 warden -
           9.    Review all SOPs with an eye toward reducing or scaling back some requirements that staff cannot meet
                 because of the shortage of staff;
           10. Create afacility lockdown policy that allows the warden or his designee the discretion to place inmates
               into alockdown mode with no movement allowed until the warden determines it is safe to resume a
               normal schedule. In-cell feeding of inmates should be incorporated into the policy; and,
           11. The Alabama Department of Corrections executive management team should give serious consideration
                 to downgrading the SCCF to aLevel 4institution and moving out all Level Soffenders due to poor facility
                 design and critically low staffing.



       Key and Tool Control


       Observations and Findings


       Key Control


       SCCF SOP 14095, Key Control, is the facilities governing policy for the accountability and maintenance of keys and
       locking devices. The SOP is consistent with Administrative Regulation #337, Key Control. While the facility has a
       comprehensive key control policy, the policy is not adhered to by staff.


       SCCF does not have adesignated Key Control Officer. The SOP states that the warden will designate aKey
       Control Officer and an Assistant Key Control Officer- Control Center staff stated they didn't know who was
       asgnethese duties. The Maintenance Supervisor stated no one has been assigned this duly in at least three
       years. The Warden II stated he told the Population Captain to assign aKey Control Officer on January 8. 201S.
       The Population Captain was interviewed and stated that he assigned aTool Control Officer, however, did not
       realize that the officer would have responsibility for both key and tool control. The Population Captain could not
       produce any documentation that he assigned any officer to these duties.


       It does not appear that security staff are properly accounting for keys and key sets during shift change. In
       accordance with the SOP, ceilbiock keys are passed on from one staff to another at shift change and when
       relieving each other. The assessment team observed security staff throwing keys to each other during shift
       change. Keys should be passed hand to hand and not thrown. The SOP requires that staff log that all keys are
       accounted for during the shift change. No log entries in any post logs could be found that indicated an inspection
       of any keys or key boxes was made.


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       The SOP further notes that staff are not allowed to take security keys home at the end of their shift. While
       interviewing staff in the vocational area, they stated they took their keys home every day. The keys for the
       vocational area open all doors and tool areas. The vocational area also has extra key rings that go to every lock
       kept in the supervisor's office and not in the control center. A member of the assessment team tried to conduct
       an inventory of the keys in the Control Center, but several keys were missing and there was not an updated key
       inventory. The Control Center staff stated the keys in question were missine for along time and they did not
       know what happened to them,


       The assessment team could not find any procedures required by the key control SOP being followed. The
       Warden II was questioned about the failure of staff to follow the SOP. He stated that he has not had the time to
       work on key control due to the many other issues at the facility.


       Tool Control


       SCCF Sop #169, Control of Tools, Equipment and Hazardous Materials, is the facilities governing policy for the
       accountability and maintenance of keys and locking devices. This SOP was written in 2002 and has not been
       revised since that date. The policy outlines for requirements for the control and accountability of tools,
       equipment and hazardous materials, The policy requires the Warden to assign aTool Control Supervisor and
       Assistant Tool Control Supervisor from the security ranks. According to the Population Captain )the assignment
       of aTool Control Supervisor was made on January 8, 2018. Interviews were conducted with staff responsible for
       maintaining tools. None of these staff knew who the Tool Control Officer was or when the last time anyone had
       been assigned those duties.


       Eight areas of the facility that contain tool rooms or toll cages were inspected. In all of these areas, restricted
       tools were observed to be not stored in accordance with the SOP, Maintenance staff conducts daily, monthly
       and quarterly inventories; however, no one security staff reviews the inventories or inspects the tool cabinets.
       Several maintenance staff stated that no security staff or management staff have ever inspected their areas. One
       maintenance staff stated that the only management staff who had been to his area was awarden from another
       facility.


       Tools were inspected and found to not be engraved or color coded in accordance with accepted practices. Many
       of the shadow boards were found to be old and out of date. There were areas on shadow boards that appeared
       to be show atool was missing; however, the assessment team member was told the tool had been broken and
       never replaced. The assessment team member attempted to conduct an Inventory, but was unable to do so.
       Inventory sheets are created by inmates, and no security staff verifies the accuracy of the inventories. Inmates
       regularly check out class Atools in the vocational areas without supervision. There are large acetylene tanks that
       are not stored in compliance with the SOP.

       It is the opinion of the assessment team that the facility does not have an accountability of all tools and could
       accurately state if tools have been missing or stolen, It Was reported by amaintenance staff memberthattwo
       weeks prior to the assessment team's site visit, aCERTteam member had borrowed ascrew driver and it has yet
       to be returned or located. Additionally, vocational staff stated that CERT had cut all the locks off of the tool
       cabinets and it took two weeks to get replacement locks. During this time, all tool cabinets in the areas were left
       unlocked.
       Recommendations:


           1.    Designate one staff as the facility Key,Control Officer and provide them with training on the
                 requirements of SOP #95. Utilize aKey Control Officer on loan from another facility if needed'
           2.    Utilize staff knowledgeable in key control to conduct an immediate inventory of all keys and key sets
                 within the facility

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           3.    Utilize staff knowledgeable in tool control to conduct an immediate inventory of all tools within the
                 facility. Utilize staff from other facilities on atemporary basis if needed
           4.    Utilize these same staff to train the recently appointed Tool Control Officer on the requirement of SOP


           S.    Review sop #169 and update as needed to comply with the requirements of Administrative Regulation
                 #334, Tool Control;
           6,    Retrain all staff having responsibility for tools on the requirements of SOP #169
           7.    Consolidate some of the existing secure tool locations inside the facility so that fewer locations exist
                 Consider one secure area inside the institution and one secure area outside the institution for the
                 issuance of tools.



       Maintenance and Repairs


       Observations and Findings


       The Maintenance staff at the SCCF consists of asupervisor and four subordinates. In addition, three inmate
       workers are assigned to the Maintenance Department. Three maintenance worker positions are currently
       unfilled. This is avery large, sprawling Level institution that has numerous maintenance issues due to aging
       infrastructure.


       The maintenance supervisor does not have abudget that he manages. However, he has never had aproblem
       ordering and receiving replacement stock items for his inventory.


       The facility has avery simple work order request system that works very well. Maintenance work orders are
       submitted by staff to the Assistant Warden for Security on ahalf-page form describing the maintenance issue
       and location of the problem. It Is dated and signed by the submitting staff member. The Assistant Warden for
       Security reviews the requests daily and either approves or disapproves the request. The approved requests are
       placed on alist that is given to the Maintenance Supervisor each morning. The Maintenance Supervisor
       prioritizes the work requests and assigns them out to his staff for completion. A list of all completed
       Maintenance work requests is filed with the Senior Warden each month.


       Recommendations:


           1.    Allow the facility to hire and fill the three vacant Maintenance positions; and,
           2.    Ensure that the maintenance department continues to receive replacement stock items for inventory to
                 keep up with the growing needs of maintaining and repairing the aging infrastructure at the SCCF.


       Inmate Classification


       Observations and Findings


       An assessment team member conducted areview of Administrative Regulation #400, Classification, and the
       Classification Manual. Interviews were conducted with the Classification Specialist Supervisor and the Warden Ii
       regarding the classification process. The process at SCCF meets all requirements of the Administrative
       Regulation and the ALOOC Classification Manual.


       Based on the assessment team member's review, both inmates who escaped were properly classified to alevel 5
       facility. Inmate Wilson is serving asentence of life without parole, and had received nine disciplinary reports in
       2017; seven for contraband cell phones and two for intoxicants. Inmate King is serving aSO-year sentence for
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       burglary, and had received four disciplinary reports in 2017; one for failure to obey adirect order, one fore
       weapon, one for an assault, and one for fighting.


       The ALDOC classification policy requires that any inmate with asentence of life without parole must be held at a
       level Sfacility. At the time of the assessment, there were 446 inmates serving sentences of life without parole at
       SCCF.


       It was noted that one of the escapees, Inmate Wilson, had been housed in close custody segregation until
       11/07/17 when he was reclassified to medium administrative segregation and moved to population. He had
       been placed in close custody segregation for an assault on another inmate in August 2016 and had received his
       nine disciplinary reports while inclose custody segregation. When classification staff was asked why inmate
       Wilson was released from close custody segregation, the assessment team member was told it was because he
       had gone 4months without adisciplinary report and the facility needed the segregation space.

       SCCF's segregation unit serves as aregional segregation unit. According to the Warden II there are have
       approximately 90 inmates "hiding" in segregation that have protective custody issues. The warden 11 stated that
       he submitted aplan to move those inmates with protective custody issues into another housing unit but had not
       heard back from headnuarters on the recommendation. Inmate Wilson was an appropriate candidate for close
       custody segregation based on his disciplinary history. The recommendation for release from close custody
       segregation was subjective, driven by available bed space, and not agood security practice.


       The Warden II spends about 5-hours every week reviewing segregation placements. In addition to the Warden II,
       classification staff and at least two security staff are needed to escort approximately 96 inmates to segregation
       placement reviews each week. The classification policy does not indicate the inmate must appear in person at
       this weekly review. The generally accepted practice for continued placement reviews for Inmates in restrictive
       housing is weekly for the first one to two months, then every thirty days thereafter.


       Inmate institutional jobs are assigned by aJob Board. Jobs are not rotated unless there is aproblem and there is
       no job rotation schedule. This practice can lead to inmates becoming overfamiliar with staff and empowered by
       their job seniority making the subversion of facility security more likely. As an example, an inmate assigned to a
       tool crib had been at that job for several years. Neither of the escapees were assigned to an institutional job.

       Recommendations:


           1.    Consider implementing the Warden l's proposal to move inmates with protective custody issues out of
                 segregation and into aseparate housing unit that can be run as ageneral population protective custody
                 unit;
           2.    Consider conducting segregation placement reviews in accordance with generally accepted practices.
                 Discontinue weekly reviews of every inmate. When reviews are conducted, consider allowing the
                 Segregation Captain to chair the review team, only requiring the Warden 11to be present in cases where
                 acustody reduction is recommended; and,
           3.    Consider rotating inmate institutional jobs according to aschedule.




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       Appendix A: Assessment Team Biographical Profiles


       Wayne Choinski, Team Lead


       Wayne Choinski has served as aproject manager with ASCA since 2010. His correctional experience includes
       having served the Connecticut Department of Correction for over 27 years as asenior administrator at several
       large correctional institutions, the senior administrator for community corrections, and aregional administrator
       responsible for the oversight of nine correctional facilities including jails.


       Wayne has served as aproject manager for anumber of ASCA projects including; operational staffing
       assessments, critical incident reviews, master plan development, compliance audits, and review of restrictive
       housing policies and programs. Additionally, he has consulted on collaborative projects with RAND Corporation,
       The Council of State Governments, and The Pew Research Center in addition to assisting with the facilitation of
       ASCA training programs and committee meetings.


       Michael Maloney, Team Member


       Mr. Maloney has more than 40 years of experience in the corrections field. During his 29 years with the
       Massachusetts Department of Correction, he served in avariety of positions including Deputy Superintendent,
       Superintendent, Deputy Commissioner and Commissioner. Through these positions, Mr. Maloney has been
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       responsible for the development and allocation of programs and resources, as well as determination of agency
       objectives, goals and internal organizational structure. After leaving the Massachusetts Department of
       Correction, Mr. Maloney served as the Norfolk County Jail and House of Correction Superintendent of
       Administration and Operations for the Norfolk County Sheriff's Department until his retirement in 2007. He has
       been aguest instructor for the National Institute of Corrections, American Correctional Association, Association
       of State Correctional Administrators and the National Major Gang Task Force on topics that included disorder
       management, gang identification and management, prison security, labor relations transition planning and re-
       entry initiatives. He has been an auditor for the American Correctional Association and served as alead
       compliance inspector with MGT of America inspecting facilities holding ICE detainees to determine compliance
       with ICE National Detention Standards.


       In 2008, Mr. Maloney was amember of ateam that developed and delivered apilot program, sponsored by the
       Office of Anti-Terrorism Assistance (ATA). The program, Mitigating Prison Inmate Radicalization, was presented
       to command staff of the Bureau of Corrections, at New Bitibid Prison in the Philippines,

       Mr. Maloney was an Adjunct Professor at Westfield State University in Massachusetts; and currently is an
       Adjunct Professor at the University of Maryland University College, teaching criminal justice courses online. In
       2017, he was appointed to be Course Chair for CCJS 497 Correctional Administration, at the University of
       Maryland University College.
       Since his retirement in 2007, Mr. Maloney has worked as acorrectional consultant. He has worked individually
       and as ateam member during that time on projects Including critical incident reviews, operational reviews,
       staffing analyses, program evaluations, and suicide protocol reviews. He is an active ASCA associate and has
       worked on anumber of ASCA projects including several staffing studies and the post incident assessment of
       escapes from an ODRC facility.



       Wayne Scott, Team Member


       Wayne Scott's career in criminal justice began in January 1972 when he was hired as acorrectional officer by the
       Texas Department of Corrections (TDC). While working for TDC he earned aBBA in Finance and Management
       from Sam Houston State University. From 1972 until 1983, he was promoted through the security ranks of TDC
       achieving the rank of Major, which is the highest-ranking uniformed security officer in the Texas Department of
       Corrections rank structure. Mr. Scott was Major of Correctional Officers atthe Ellis Unit in Huntsville, Texas and
       at the Retrieve Unit (now the Wayne Scott Unit) in Angleton, Texas, He went onto serve as an Assistant
       Warden, Senior Warden, Regional Director, and Deputy Director of Operations. In 1995, Wayne Scott became
       Executive Director of the Texas Department of Criminal Justice. The agency had grown significantly, and he was
       now responsible for 150,000 inmates, 40,000 employees, and a$5.2 billion biennial budget. He remained as
       Executive Director until his retirement in July 2001.


       Post retirement, Mr. Scott accepted an appointment from Governor Perry to the Texas Board of Pardons and
       Paroles as aboard member and amember of the executive committee of the board. After leaving the Board of
       Pardons and Paroles, he worked for Management and Training Corporation (MTC) as avice president, where he
       was responsible for the company's private prisons in Texas and overseas. In 2003, he accepted aSenior
       Associate position with MGT of America, With MGT of America, he performed operational reviews of the Harris
       County Jail in Houston, Texas and the Cook County Jail in Chicago, Illinois. He also worked extensively in
       operational reviews of the Puerto Rico Department of Corrections and Rehabilitation, and actively participated
       in Immigration and Customs Enforcement reviews of 37 county jails throughout the United States.


       In October 2010, Mr. Scott accepted aposition as Director of Operations, Secure Division, with Community
       Education Centers, Inc. His responsibilities included overseeing the operations of all CEC facilities located in
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       Texas ?to include drafting, revising, and monitoring jail policies to ensure compliance with the Texas Commission
       on Jail Standards. In October 2011, he resigned from that position and reestablished his consulting practice.
       Most recently, he has completed projects in Oregon, Ohio, Florida, and California. Mr. Scott is an active ASCA
       associate and has worked on anumber of ASCA projects including several staffing studies and the post incident
       assessment of escapes from aODRC facility.


       Pam Sonn en, Team Member


       Pam Sonnen served as amanager in the Idaho Department of Correction for 29 years. Her correctional
       experience included being aWarden, Deputy Administrator, and Chief of Prisons responsible for seven facilities.
       She also supervised Probation and Parole to include four community work centers. During her management
       career, she developed security audits and trained staff to conduct audits and make recommendations for
       improvements.


       Ms Son nen has conducted numerous investigations into security breaches to include escapes, disturbances,
       inmate murders, and staff misconduct. Pam has been trained by the National Institute of Corrections in changing
       culture, prison security, how to deal with difficult inmates, working with female offenders, staffing analysis, and
       numerous other management courses. Pam dedicated her career to creating an atmosphere for change in
       inmate behavior, and creating an environment for staff to feel included in the success for positive change. Pam
       was the first manager in Idaho to include line staff in the behavioral treatment of inmates. While Pam was
       working at the maximum-security prison she reduced offender violence by half and was able to move inmates to
       facilities that enabled them to prepare for release.


       Ms. Sonnen has worked with both male and female offenders in all custody levels from community to maximum
       security. Her management experience includes staffing, training, budgeting, policy development, auditing,
       facility operations, emergency preparedness, insuring the civil rights of inmates, strategic planning, presenting
       to groups, programing for offenders, mediating conflicts, compliance with laws, staff hiring, staff corrective and
       disciplinary actions and conducting investigations.


       Since her retirement, Ms. Sonnet) has consulted with attorneys on correctional litigation, now conducts PREP,
       audits across the United States.




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       Appendix B; Documents Reviewed


           1.    Alabama Department of Corrections Annual Report Fiscal Year 2016
           2.    Alabama Department of Corrections Administrative Regulations
           3.    Alabama Department of Corrections Classification Manual
           4.    Alabama Department of Corrections Male Inmate Handbook
           S.    Classification Summaries for Inmates Wilson and King
           5.    St. Clair Correctional Facility Employee Roster December 2017
           7.    St. Clair Correctional Facility list of significant incidents from 1/3/15   -   12/27/17
           S.    St. Clair Correctional Facility incident reports for December 4, 2017 escape
           9.    St. Clair Correctional Facility 2016 PREA Audit Report
           10. St. Clair Correctional Facility Newsletter for 1/9/12
           11, St. Clair Correctional Facility Post Plan
           12. St. Clair Correctional Facility Table of Organization
           13. St. Clair Correctional Facility Standard Operating Procedures
           14. St. Clair Correctional Facility Housing Designation Logs
           15. St. Clair Correctional Facility Inmate Alpha Rosters
           16. St. Clair Correctional Facility Daily Log Packages for 12/1/17     -   12/4/17 and 1/9/18    -   1/10/18
           17. St. Clair Correctional Facility Duty Post Logs
           18. St. Clair Correctional Facility Security Staff Count for 1/2/18
           19, St. Clair Correctional Facility Shift Rosters




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       Appendix C: Staff Interviewed"


       Larry Baker           Correctional Lieutenant
       Steven Battles        Correctional K-9 Handler
       David Bivens          Correctional Officer
       Anthony Brooks        Warden I
       Calvin Bush           Correctional Officer
       Brian Casey           Investigator
       Regina Cook           Radio Operator
       Angelia Cooper        Radio Operator
       William Cornelison    Correctional Officer
       Joel Christian        Correctional Officer
       Grantt Culliver       Associate Commissioner
       Phillip Dixon         Correctional Sergeant
       Edward Ellington      Institutional Coordinator
       Nekitris Estelle      Classification Specialist Supervisor
       DeWayne Estes         Warden Ill
       Mark Fassi            Inspector General
       Michael Gaines        Correctional Trainee
       Angelia Gordy         Correctional Lieutenant
       Carla Graham          Correctional Captain
       Wendell Guthery       Correctional Officer
       William Hadley        Plant Maintenance Supervisor I
       Jason Harris          Correctional Officer
       Kenneth Hawkins       Correctional Officer
       James I-bIt           Correctional K-S Supervisor
       Wilbert Howard        Correctional Officer
       Russell Jones         Correctional Lieutenant
       Kathleen Kizzard      Correctional Cubicle Operator
       Jasper Luitze         Correctional Sergeant
       Gary Malone           Correctional Captain
       John Mason            Correctional Sergeant
       Erica Moore           Administrative Support Assistant I
       Mathew Moore          Correctional Officer
       Danny Nichols         Plant Maintenance Supervisor II
       Richard Parton        Part Time Correctional Officer (Retired State Employee)

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       Kenneth Patton          Correctional Officer
       Jerry Puckett           Part Time Correctional Officer (Retired State Employee)
       William Ragsdale        Correctional Lieutenant
       Kenneth Robertson       Correctional Sergeant
       Morris Rogers           Correctional Lieutenant
       Mitchell Sanders        Part Time Correctional Officer (Retired State Employee)
       Rafael Santa-Maria      Correctional Sergeant
       Latonya Scott           Correctional Lieutenant
       Cedric Specks           Warden II
       Marina Starks           Radio Operator
       Rebecca Steele          Administrative Support Assistant Ill
       Dennis Stefaniak        Correctional K-9 Handler
       Stephen Tish            Part Time Correctional Officer (Retired State Employee)
       Kevin White             Correctional Captain


       *There were additional staff that the assessment team spoke with during the on-site visit that were not formally
       interviewed and therefore, not noted in this appendix.




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